













Memorandum Opinion issued January 16, 2003







In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-02-00726-CV
____________

IN RE PEGY JAMAIL ZEPEDA, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The parties have filed a joint motion to dismiss this original proceeding.  No
opinion has issued.  Accordingly, the motion is granted, and the original proceeding
is dismissed.  Tex. R. App. P. 42.1(a).  Any other pending motions are overruled as
moot. PER CURIAM
Panel consists of Justices Hedges, Jennings, and Alcala.


